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                                        Shelter Policies
l,  The shelter facility is a temporary shelter for victims of domestic and sexual violence, The
    shelter is intended as a safe place where persons in crisis may have sufficient time to realistically
    evaluate their position, explore possible options, make decisions about future plans, and take
    positive steps towards resolving their crisis situation.
2. All adult residents shall maintain their right to make their own decisions as to present and future
    course of action, will retain responsibility for their children, and shall be free from violent
    behavior while residing at the shelter.
3. Adult victims of domestic and sexual violence are eligible to stay at the shelter from one to 30
    days contingent upon compliance with case management. The shelter manager will review all
    extended stays or future re-entry requests. The determination will be based on client records,
    service plans, and compliance with shelter policies. Clients may use the shelter and its services
    as often as they have a need and continue to meet eligibility guidelines. Failure to comply with
    these shelter poiicies may result in the termination of your stay and    will  affect the reentry
     determination in the future.
4. Clients and staff will preserve the individual's right of confidentiality in compliance with all
     Federal and State Privacy Laws and VAWA Act of 2005; unless, we are court ordered.
5. The following shall not be permitted on the premises of                                            :
     violence, the use of alcohol, drugs (except by prescription), or weapons. Physical violence,
     punishment, or verbal/emotional ab~se will not be permitted among or betv,een adult and child
     residents.
 6. All employees of                                            are court mandated reporters for child
     abuse and neglect.
7. In accordance with the State Fire Marshall and                         Health Department, smoking is
     permitted 20 f~et from the shelter facility.
 8. EMERGENCYFIREPROCEDURES:            When the fire alarm sounds, evacuate the building quickly.
     Leave by the closest exit and meet in th'e front of the shelter. Do not re-enter the shelter until a
     staff member has approved such actions.
 9. When entering or leaving the building use only t,he front door. You cannot use any other doors n
     the shelter. The other doors are kept locked for security reasons. When leaving the shelter, be
      sure to let the staff person on duty know that you are leaving.
     10. Parents are resoonsible for their children at all times.
     11. Confidentiality must be kept even after you stay at the shelter. Bringing your abuser to the
         shelter or disclosing to him/her the shelter location can affect re-entiy in the future.
     12. If you have any questions, comments, or suggestions do not hesitate to speak with a staff
         member or Executive Director.




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              Within:72.hours, you will have a meeting set up with the case ma·nagerto work
tASE MANAGEMENT:
              on service plan.

QUIETTIME:9:00 p.m.for children 12 years and under
         12:00 a.m. adults are to be in their assigned room

         For £alls,clients can make them as needed, but to remember to respect other residents
TELEPHONE:
        '       phone use also.

HOUSE~EETINGS:As needed, although we try to have one once a week.

      9:00 p.m. daily. Ifyou know you are goingto be a little late due to work, church, AAor NA,
CURFEW:
      notify the staff person on duty.

CHORES:
      As scheduled. Posted on chore chart weekly.

       Any visitors must get staff approval and sign a confidentialitystatement. Allvisits are to take
VISITORS:
       place in the livingroom or fenced in back yard from 9 a.m. - 7 p.m. Sunday-Saturday.

                  Completethe followingprior to exiting- strip and clean beds, wash alJbed
WHEN FXITINGSHELTER:
                            linens, dust and vacuum your room, and complete the exit interview with s.taff
                            onduty.                                                                  ·




                                    .                 Food Regulations

     1. Allcontainers must be coveredand dated that are stored in the refrigerator.This also p~rtain~
        to baby food and bottles.
     2. Allfoods must be emptied after two (2) days.
     3. Allcookware must be placed up?ide down to protect them from dirt.
     4. Use three (3) waters when washing dishes: wash, rinse, bleach water. Alldishes must air dry.


 By signingbelow I am agreeingto adhere to the shelter and kitchen policies.




 Client Name                                Date        Staff Name                                    Date




  Revised2012




                                                                                            Program B Decl., Ex. 2
